    Case 1:25-cv-11048-ADB        Document 147      Filed 06/09/25    Page 1 of 14




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                    Plaintiff,

      v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
NATIONAL INSTITUTES OF HEALTH;
ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of the United States
Department of Health and Human Services;
UNITED STATES DEPARTMENT OF
JUSTICE; PAMELA J. BONDI, in her
official capacity as Attorney General of the  Civil Action No. 1:25-cv-11048-ADB
United States; UNITED STATES                  Leave to File Granted June 9, 2025
DEPARTMENT OF EDUCATION; LINDA
M. MCMAHON, in her official capacity as
Secretary of the United States Department of
Education; UNITED STATES GENERAL
SERVICES ADMINISTRATION; STEPHEN
EHIKIAN, in his official capacity as Acting
Administrator of the United States General
Services Administration; UNITED STATES
DEPARTMENT OF ENERGY;
CHRISTOPHER A. WRIGHT, in his official
capacity as Secretary of the United States
Department of Energy; UNITED STATES
NATIONAL SCIENCE FOUNDATION;
SETHURAMAN PANCHANATHAN, in his
official capacity as Director of the United
States National Science Foundation; UNITED
STATES DEPARTMENT OF DEFENSE;
PETER B. HEGSETH, in his official capacity
as Secretary of the United States Department
of Defense; NATIONAL AERONAUTICS
AND SPACE ADMINISTRATION; JANET
E. PETRO, in her official capacity as Acting
Administrator of the National Aeronautics and
Space Administration; UNITED STATES
DEPARTMENT OF AGRICULTURE;
BROOKE L. ROLLINS, in her official
    Case 1:25-cv-11048-ADB         Document 147   Filed 06/09/25   Page 2 of 14




capacity as Secretary of Agriculture; UNITED
STATES DEPARTMENT OF HOUSING
AND URBAN DEVELOPMENT; and
SCOTT TURNER, in his official capacity as
Secretary of Housing and Urban
Development,

                     Defendants.


      BRIEF OF AMICI CURIAE 12,041 HARVARD ALUMNI IN SUPPORT OF
             PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
        Case 1:25-cv-11048-ADB                         Document 147                Filed 06/09/25              Page 3 of 14




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1
IDENTITY AND INTEREST OF AMICI CURIAE ....................................................................... 2
ARGUMENT .................................................................................................................................. 4
CONCLUSION ............................................................................................................................... 9




                                                                      i
        Case 1:25-cv-11048-ADB                      Document 147              Filed 06/09/25             Page 4 of 14




                                             TABLE OF AUTHORITIES

Community Values, HARVARD BUSINESS SCHOOL .......................................................................... 6

Harvard Impact Study: Global Economic & Social Impact of Harvard Alumni,
  HARVARD BUSINESS SCHOOL (2015) .......................................................................................... 3

Mission, Vision & History, HARVARD COLLEGE ............................................................................ 6

About HSDM, HARVARD SCHOOL OF DENTAL MEDICINE ............................................................... 6

About GSD, HARVARD GRADUATE SCHOOL OF DESIGN ................................................................. 6

History and Mission, HARVARD DIVINITY SCHOOL ........................................................................ 6

About HGSE, HARVARD GRADUATE SCHOOL OF EDUCATION ........................................................ 6

About, HARVARD EXTENSION SCHOOL ............................................................................................ 6

About, HARVARD GRADUATE SCHOOL OF ARTS AND SCIENCES ...................................................... 5

About, HARVARD KENNEDY SCHOOL .............................................................................................. 5

The Harvard Law School Shield, HARVARD LAW SCHOOL ............................................................ 5

Mission, Community Values, and Diversity Statement, HARVARD MEDICAL SCHOOL ................... 5

Christina Pazzanese, Harvard’s Alumni Impact, HARVARD GAZETTE (Dec. 8, 2015) ................... 3

Mission & Vision,
  HARVARD JOHN A. PAULSON SCHOOL OF ENGINEERING AND APPLIED SCIENCES ...................... 6

Mission and Vision, HARVARD T.H. CHAN SCHOOL OF PUBLIC HEALTH........................................ 5

Harvard University Revised Values Statement, HARVARD UNIV. PRESIDENTIAL TASK FORCE ON
 INCLUSION & BELONGING ............................................................................................................ 6




                                                                 ii
      Case 1:25-cv-11048-ADB            Document 147         Filed 06/09/25      Page 5 of 14




                                        INTRODUCTION

       As alumni of Harvard University, we submit this brief in support of the academic freedom

and integrity of Harvard and educational institutions across America—all of which must be able

to educate students consistent with their missions and values, free from political interference.

       The Harvard alumni community is more than 400,000 strong. In every corner of America

and the world, Harvard alumni are working to alleviate suffering; safeguard liberty and democracy;

catalyze growth, prosperity, and innovation; develop new cures and technologies; promote faith

and justice; foster creativity and learning; and transform the trajectories of our families, neighbors,

and country for the better. However different our paths and perspectives may be, each of us has

been shaped by the inscriptions on Dexter Gate in Harvard Yard: “Enter to grow in wisdom” and

“Depart to serve better thy country and thy kind.”

       As alumni, we are deeply alarmed by the federal Government’s reckless and unlawful

attempts to assert control over the core functions of Harvard and its fellow institutions of higher

education. Without due process or any recognizable basis in law—and with complete disregard for

the freedoms the Constitution secures and the constraints it imposes—the Government has

embarked on a campaign to deploy every power at its disposal to damage Harvard. The

Government launched its campaign with threats to withhold billions in research funding in a brazen

attempt to dictate and shape viewpoints at Harvard, and then abruptly terminated those funds when

Harvard’s leadership did not comply—directly imperiling life-saving scientific research and

innovation, the impact of which is already being felt.

       The Government’s escalating attacks—and this case—are about much more than funding.

The Government strikes at the very core of Harvard: the longstanding practices and values of

openness, free inquiry, and mutual respect, and its founding commitment to veritas—the quest for




                                                  1
      Case 1:25-cv-11048-ADB           Document 147        Filed 06/09/25      Page 6 of 14




truth above all. The Government’s end goal is to narrow our freedoms to learn, teach, think, and

act, and to claim for itself the right to dictate who may enjoy those freedoms. As alumni, we attest

that Harvard’s true greatness resides in the ways we share these values and exercise these

freedoms, which have long shaped how we understand and connect with one another, and how we

anchor our continuing efforts to make a difference in service to the world.

                      IDENTITY AND INTEREST OF AMICI CURIAE

       Amici curiae comprise 12,041 graduates of Harvard University, whose individual names,

degrees, and years of graduation are included in the Appendix. Amici are graduates of Harvard’s

Faculty of Arts and Sciences—including graduates of Radcliffe College before it merged with

Harvard—as well as Harvard’s schools of Business, Dental Medicine, Design, Divinity,

Education, Engineering, Extension, Government, Law, Medicine, and Public Health. Many of us

remain active members of the Harvard community.

       Amici span multiple generations and include individuals from the graduating classes of

every single year from 1950 to 2025. Collectively, our time at Harvard extends over the last 80

years; together, we have built and embraced community across cultures, disciplines, ideologies,

and geographies. We reside in and represent all fifty states, D.C., and the U.S. territories, and

dozens of countries around the world. Some of us travelled thousands of miles across multiple

borders to enroll at Harvard, while others of us have never left the neighborhood. Many of us are

first generation college-goers, and others followed in our grandparents’ footsteps on the paths of

Radcliffe and Harvard. We embody and reflect a multitude of backgrounds, beliefs, talents, and

trajectories. And we both defy and expand the labels and stereotypes about Harvard.

       Amici are part of a vast and vital community supporting and transforming the nation and

the world. We are apple-growers, health ministers, youth pastors, cancer scientists, safety officers,




                                                 2
      Case 1:25-cv-11048-ADB           Document 147        Filed 06/09/25      Page 7 of 14




musicians, homebuilders, energy entrepreneurs, librarians, and fighter pilots. We are researchers

and explorers whose discoveries spur innovation, heighten our understanding of one another, and

improve, enrich, and save lives. We are artists, storytellers, and truth-seekers who chronicle the

human condition and stretch the boundaries of who we can become. We are philanthropists and

volunteers, big and small, who dedicate our time and resources in clinics, kitchens, and classrooms.

We are daily caregivers in our communities, who live and work alongside our neighbors combating

suffering and loneliness, bridging divides and building faith, safeguarding shared spaces and

rights, and supporting lifelong learning.

       And we are creators of just and sustainable solutions to the world’s most pressing problems

and drivers and stewards of economic and financial growth and stability. According to a 2015

study, Harvard alumni have founded over 146,000 ventures—one-third of which are nonprofits—

collectively employing over 20 million people and generating over $3.9 trillion in annual revenue.

Nearly 40% of alumni have founded a for-profit or nonprofit organization—including many of the

amici here.1

       As amici, we are profoundly interested in ensuring that Harvard continues to foster the

education and development of its vibrant community, consistent with its mission, purpose, and

values. What binds us as Harvard alumni is our shared sense of how Harvard’s mission and values

continue to inspire our commitment to make a difference in the world—however we each identify

and pursue that goal. In joining this brief, we shared testimonials: of how Harvard instilled a sense



1
  See Harvard Impact Study: Global Economic & Social Impact of Harvard Alumni, HARVARD
BUSINESS SCHOOL (2015),
https://www.alumni.hbs.edu/Documents/volunteers/ImpactReport_GlobalEconomic.pdf (last
visited June 8, 2025); see also Christina Pazzanese, Harvard’s Alumni Impact, HARVARD
GAZETTE (Dec. 8, 2015), available at https://news.harvard.edu/gazette/story/2015/12/harvards-
alumni-impact/.


                                                 3
      Case 1:25-cv-11048-ADB          Document 147        Filed 06/09/25     Page 8 of 14




of moral obligation to stand up for our freedoms and convictions, transformed trauma into purpose,

grounded our pursuit and exploration of wisdom and truths, and energized our commitment to the

founding ideals of American democracy. As one alumni remarked, Harvard “made me fall in love

with America.” We recognize that the unencumbered pursuit of knowledge at Harvard and our

fellow educational institutions—where we learn how to think, not what to think; where there is no

single right answer; and where we invest in creativity, experimentation, and research—serves

humanity and furthers the common good. We understand the essential role of education in our

public lives and in our democracy, and the importance of opening classroom doors to diversity and

difference—especially to those who have not yet had an opportunity to enter—while according

dignity to all. And we know that Harvard’s battle is pivotal in the larger war over America’s

freedoms, values, and role in the world.

       We also have a direct interest in Harvard’s governance. In 1642, the legislature of the

Massachusetts Bay Colony established the Board of Overseers as Harvard’s original governing

board. Today, that board remains composed of, and elected by, Harvard alumni. Consequently, we

hold a unique perspective on the importance of Harvard as an independent academic institution,

as well as a responsibility for maintaining its commitment to academic freedom, truth, and service

to the world.

                                           ARGUMENT

       Established in 1636, Harvard is America’s oldest university. Harvard was founded 140

years before the independence of the United States. Harvard’s alumni informed the foundations of

our constitutional democracy and, ever since, Harvard has educated generations of students and

student-leaders to serve the nation and make a difference in the world. The impact of Harvard’s




                                                4
      Case 1:25-cv-11048-ADB          Document 147        Filed 06/09/25      Page 9 of 14




400-year-long educational and spiritual investment in people’s lives is as immeasurable as it is

indisputable.

       Harvard’s enduring sense of purpose and commitment is embedded in the missions of the

schools across Harvard: “alleviating suffering and improving health and well-being for all”

(Medical School); ensuring “people can live in societies that are more safe, free, just, and

sustainably prosperous” (Kennedy School); shaping a “dynamic and diverse community” into

“visionary scholars, innovative educators, and creative leaders” (Graduate School of Arts and

Sciences); advancing “justice” (Law School); “improv[ing] health and promot[ing] equity so

everyone can thrive” (School of Public Health); forging a “just world at peace across religious and

cultural divides” (Divinity School); building a “resilient, just, and beautiful world” (School of

Design); “making the broadest impact possible” by “expanding opportunities and outcomes for

learners everywhere” (School of Education); “bridg[ing] disciplines . . . to advance foundational

science, and to achieve translational impact” (School of Engineering); preserving “academic

freedoms” and “open access and active learning” (Extension School); “mak[ing] a lasting, positive

impact on society” (School of Dental Medicine); “educat[ing] leaders who make a difference in

the world” (Business School); and “educating the citizens and citizen-leaders for our society” and

to serve the world (Harvard College).2



2
   Mission, Community Values, and Diversity Statement, HARVARD MEDICAL SCHOOL,
https://hms.harvard.edu/about-hms/campus-culture/mission-community-values-diversity-
statement (last visited June 8, 2025); About, HARVARD KENNEDY SCHOOL,
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                                                5
     Case 1:25-cv-11048-ADB           Document 147         Filed 06/09/25      Page 10 of 14




       Harvard’s missions are also embedded in the values and commitments that it practices and

conveys. Veritas—truth—has long served as our North Star, guiding us to challenge prevailing

orthodoxies. The University-wide Statement of Values emphasizes the “[c]onscientious pursuit of

excellence” and “integrity in all dealings” to “advance the frontiers of knowledge” and to equip

individuals “for fulfilling experiences of life, work, and inclusive leadership in a complex world.”3

The Business School similarly emphasizes the importance of building spaces of “trust and mutual

respect, free expression and inquiry” that reflect “a commitment to truth, excellence and lifelong

learning.”4

       These missions and values are not abstract aspirations; they are animating commitments,

deeply embedded, practiced, and embodied in our lives and in the continuing life of the university.

They resonate when the university has the freedom to govern itself, and can educate and cultivate

an academic and learning community that aligns with its mission. Indeed, universities like Harvard



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and-mission (last visited June 8, 2025); About GSD, HARVARD GRADUATE SCHOOL OF DESIGN,
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4
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culture/community-values (last visited June 8, 2025).


                                                 6
     Case 1:25-cv-11048-ADB           Document 147        Filed 06/09/25     Page 11 of 14




can only manifest their mission, values, and foundational principles if they can operate with

academic freedom, which emerges from the bedrock constitutional freedoms of expression,

speech, and association outlined in the very First Amendment to our Constitution.

       We are living in an increasingly intertwined world. Promoting these missions and values

requires open and robust learning environments, where debate, inquiry, and genuine disagreement

are encouraged and seen as the root of learning and growth. It requires spaces that recognize that

our humanity resonates and sustains when our quest is to open and cultivate minds, not to close

them. Cultivating citizens who have a sense of their commitments and responsibilities to one

another regardless of background, perspective, faith or nationality requires building spaces that

demand dignity and respect across difference, where all viewpoints and perspectives are

welcomed.

       In every sense, we have benefited from Harvard’s missions and values, along with the

freedoms to learn and inquire, to think, to voice, and to act. The autonomy and freedoms present

at Harvard and fellow educational institutions have long made them America’s competitive

advantage and a central engine of the dynamism and industriousness that have pushed America

forward. Along with generations of students at Harvard, we have carried and embodied the

American spirit of innovation and optimism.

       Yet today, Harvard faces an unprecedented, existential threat. Instead of embracing our

shared future, the Government is sowing division and fear, and trying to break us apart. Simply

put, Harvard is under siege. The Government has waged an escalating campaign of bullying,

coercion, and extortion to take over Harvard’s core functions and dictate what is taught and voiced

on Harvard campuses, and by whom. In retaliation for Harvard’s refusal to acquiesce to the


                                                7
     Case 1:25-cv-11048-ADB            Document 147        Filed 06/09/25      Page 12 of 14




Government’s threats and demands, the Government has slashed billions of dollars in federal funds

for life-saving scientific and medical research and innovation; moved to curtail and destroy the

educational lives of international students and scholars (an attempt this Court rightly restrained);

and proceeded to sever all ties with Harvard. It is not surprising that Harvard, an anchor and pillar

of America during its founding and continuing today, is where the Government brought its

wrecking ball. It is also no surprise that so many people throughout this country and across the

globe have rallied for Harvard to stand up and present a strong front line, as Harvard is just the

beginning in this unnecessary and unprecedented war against education.

       The Government has justified its attacks on Harvard, in part, on the basis of concerns over

antisemitism on campus. We unequivocally condemn antisemitism and every other form of

discrimination and hate, which have no place at Harvard or anywhere else in our society. Yet

charges of antisemitism—particularly without due process and proper bases and findings by the

Government—should not be used as a pretext for the illegal and unconstitutional punishment and

takeover of an academic institution by the Government. Indeed, most of the Government’s

demands on Harvard have little or nothing to do with combating antisemitism, or any other kind

of bias and discrimination, on campus. Rather, its demands stifle the very engagement, teaching,

and research that bring communities together, heighten our understanding of one another, and

advance solutions that directly benefit us all.

       Harvard and our fellow educational institutions nationwide are under sustained assault by

a Government that seeks to undermine the core freedoms that make higher education a force for

progress and democracy for all. Even if the attacks at Harvard—ranging from retaliatory cuts to

federal funding, to Government control over curriculum and speech, to efforts to expel


                                                  8
     Case 1:25-cv-11048-ADB           Document 147         Filed 06/09/25      Page 13 of 14




international students and faculty—were good-faith efforts to improve Harvard, they would still

need to be pursued through lawful channels and with due process. Values cannot be imposed by

fiat; the heavy hand of the Government is incompatible with open inquiry, the pursuit of truth, and

the academic freedom guaranteed by the First Amendment.

       As alumni, we know what these values make possible—because we have lived them. We

have carried these values into classrooms and courtrooms, hospitals and houses of worship,

laboratories and legislatures, and neighborhoods across the world. Attacking our schools for

upholding those freedoms and values is to attack the very foundation on which we have built our

professional and personal lives. The Government’s war against Harvard is not just about Harvard:

it is an attempt to discredit and dismantle education, disrupt independent thought, and divide the

nation. We cannot let these tactics succeed—not at Harvard, and not in America.

                                         CONCLUSION

       We support Harvard’s refusal to accede to the Government’s unconstitutional and unlawful

demands to usurp the university’s independence and abrogate its academic freedom. The escalating

campaign against Harvard threatens the very foundation of who we are as a nation. We embrace

our responsibility to stand up for our freedoms and values, to safeguard liberty and democracy,

and to serve as bulwarks against these threats to the safety and well-being of all.

       Educational institutions like Harvard are a work in progress, just like our democracy.

Indeed, we are all works in progress. As alumni of Harvard—12,041 strong and nearly four

centuries in the making—we submit this brief to ask the Court to allow us to continue the work of

making progress. After all, progress is best made possible when we have faith and invest in our

institutions, not when we seek to destroy them.


                                                  9
    Case 1:25-cv-11048-ADB         Document 147    Filed 06/09/25     Page 14 of 14




Dated: June 9, 2025                         Respectfully submitted,

Anurima Bhargava*                           /s/ Lauren Godles Milgroom
Harvard College Class of 1996               Joel Fleming (BBO No. 685285)
Anthem of Us, LLC                           Harvard Law School Class of 2011
30 Bow Street                               Lauren Godles Milgroom (BBO No. 698743)
Cambridge, MA 02138                         Harvard Law School Class of 2017
(617) 575-9001                              EQUITY LITIGATION GROUP LLP
anurima@anthemofus.com                      1 Washington Mall #1307
                                            Boston, MA, 02108
Marco Simons*                               (617) 468-8602
Harvard College Class of 1997               jfleming@equitylitigation.com
Law Office of Marco B. Simons               lmilgroom@equitylitigation.com
6218 Georgia Ave NW Ste 1 #594
Washington, DC 20011                        Attorneys for Amici Curiae 12,041 Harvard
917-696-3304                                Alumni
marcosimonslaw@gmail.com

*pro hac vice application forthcoming




                                          10
